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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

ANTHONY BELL                                     §
         Plaintiff
                                                 §
Vv.                                              §
                                                 §               Civil Action No.: 4:23-cv-01635
 PHH MORTGAGE CORPORATION, ET                    §
 AL.                                             §
                                                 §
         Defendant.                               §




                    STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

        This matter having come before the Court on the stipulation between the parties; and the

Court being otherwise fully advise in the premises;

        It is hereby ORDERED, ADJUDGED and DECREED that all claims Plaintiff asserted, or

could have asserted, against Defendant in this case are hereby DISMISSED WITH PREJUDICE;

and it is further

        ORDERED, ADJUDGED, and DECREED that all costs, expenses, and attorney fees are

taxed against the party incurring same.

        SIGNED this _ day of                   , 2023.



                                                         PRESIDING JUDE
